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                           UNITED STATES DISTRICT COURT
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                           NORTHERN DISTRICT OF ILLINOIS                            7/13/2021
                                 EASTERN DIVISION                                THOMA.SDG   . BRUTO N
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UNITED STATES OF AMERJCA        )
                                )
                                )
            V.                  )                     No. 17-CR-239
                                )
                                )                     Judge Thomas M. Durkin
JESSICA ARONG O'BRIEN,          )
      Defendant and             )
                                )
JUDGES RETIREMENT SYSTEM and    )
      STATE EMPLOYEE RETIREMENT )


  DEFENDANT'S COMBINED MOTIONS FOR LEAVE TO FILE A SUR-REPLY TO
   THE CONSOLIDATED MOTIONS OF THE UNITED STATES FOR TURNOVER
               ORDERS ("GOVERNMENT'S MOTIONS") &
                 FOR THE COURT TO SET A HEARING



       Now comes Defendant, Jessica Arong O'Brien, appearing prose, and respectfully submits

her Combined Motions for Leave to File a Sur-Reply (a rough draft of the Sur-Reply is attached

herein), and for the Court to schedule a hearing on the Government's Motions. In support thereof,

Defendant states the following:

       1)      The government's Reply provides this Court with inaccurate or misleading rules of

law by failing to disclose key facts and circumstances underlying the majority of the case law it

cited from beginning to the end of its brief. For example, the first case it cites is United States v.

Fariduddin, 469 F.3d 1111, 1112-13 (7 th Cir. 2006) for the proposition that the Seventh Circuit in

that case opined that "the payment order acts as a floor, not a ceiling." However, the court there

began and premised its analysis with paragraph 28 of defendant Fariduddin's plea agreement

which "reads: 'The defendant acknowledges and understands that any and all financial obligations
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